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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                              FORT LAUDERDALE DIVISION

 RALPH BERNSTEIN,

        Plaintiff,

 v.                                                   Case No.: 0:17-cv-62079-BB


 SYNCHRONY BANK,

       Defendant.
 _____________________________/

      STIPULATED NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE

        COME NOW, Plaintiff, RALPH BERNSTEIN (“Plaintiff”), and Defendant,

 SYNCHRONY BANK (“Defendant”), by and through the undersigned counsel, hereby stipulate

 pursuant to Fed. R. Civ. P. 41 and agree that Plaintiff’s cause against Defendant should be

 dismissed, without prejudice, with each party to bear its own costs and attorneys’ fees.

        Respectfully submitted this April 4, 2018,

 /s/ Michael A. Ziegler                              /s/ Brandon T. White
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 Attorney for Plaintiff                              Attorney for Defendant
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                                    CERTIFICATE OF SERVICE

         I hereby certify that on this 04 day of April, 2018, I electronically filed the foregoing

 with the Clerk of the Court using the CM/ECF system, which will send a notice of electronic

 filing to all counsel of record.


                                                     /s/ Michael A. Ziegler
                                                     Michael A. Ziegler, Esq.
                                                     Florida Bar No. 74864
